
SLEET, Judge.
T.C., the father of G.C., appeals the trial court’s order placing minor child in a permanent guardianship and terminating protective supervision, which placed G.C. in a permanent guardianship, and terminated supervision by the Department of Children and Family Services. The Department correctly concedes error because the case plan improperly requires the father to admit to having caused harm to the minor child before reunification can take place in contravention to section 39.6011(1), Florida Statutes (2012).
We also agree with the Department’s concession of error that the trial court’s *617order was not supported by competent, substantial evidence. See C.A. v. Dep’t of Children &amp; Families, 988 So.2d 1247, 1248-49 (Fla. 4th DCA 2008) (“[P]laeement of a child in a permanent guardianship requires a finding by the trial court that reunification ... is not in the best interests of the child, and that finding must be supported by competent substantial evidence.”) Accordingly, we reverse the trial court’s order and remand for further proceedings.
Reversed and remanded.
KHOUZAM and CRENSHAW, JJ., Concur.
